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                                       8                     UNITED STATES DISTRICT COURT
                                       9                    CENTRAL DISTRICT OF CALIFORNIA
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                                      11   VAMPIRE FAMILY BRANDS, LLC          Case No. 2:20-cv-08223-VBF-PVC
Gordon Rees Scully Mansukhani, LLP
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                                      12                        Plaintiff,     MEMORANDUM OF POINTS
                                                                               AND AUTHORITIES IN
      Los Angeles, CA 90071




                                      13         vs.                           SUPPORT OF MOTION TO
                                                                               DISMISS FOR LACK OF
                                      14   S.C. CRAMELE RECAS, S.A., TRI-      PERSONAL JURISDICTION
                                           VIN IMPORTS, INC. and DOES 1 - 20   OR, ALTERNATIVELY, FOR
                                      15                                       FAILURE TO STATE A CLAIM
                                                                Defendants.    [FRCP 12(b)(2); 12(b)(6)]
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                                      17                                       Complaint Filed: September 8, 2020
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                                       1                MEMORANDUM OF POINTS AND AUTHORITIES
                                       2   I.    INTRODUCTION
                                       3         This Court lacks general and specific personal jurisdiction over defendant
                                       4   Tri-Vin Imports, Inc. (“Tri-Vin”). Tri-Vin is a wine importer and distributor,
                                       5   formed and incorporated in the state of New York on September 9, 1988, with its
                                       6   principal place of business in New York. All corporate files and records are
                                       7   maintained in Tri-Vin’s office in New Rochelle, New York, where all management
                                       8   decisions as to marketing and wine purchases are made and where management
                                       9   personnel are located. Tri-Vin is not registered to do business in California, does
                                      10   not maintain an agent for service of process in California, and does not maintain
                                      11   any corporate offices or bank accounts in California. Tri-Vin primarily serves New
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                                      12   York, New Jersey, and Connecticut. Accordingly, under the stringent test outlined
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                                      13   by the Supreme Court in Daimler AG v. Bauman, 571 U.S. 117 (2014), Tri-Vin is
                                      14   not at home in California, and it is not subject to general jurisdiction in California
                                      15   courts.
                                      16         Tri-Vin is also not subject to specific jurisdiction in California. Plaintiff
                                      17   Vampire Family Brands, LLC’s (“Plaintiff” or “VFB”) cannot establish purposeful
                                      18   direction by Tri-Vin as to the alleged acts underlying Plaintiff’s claims, which do
                                      19   not arise out of Tri-Vin’s contacts with California. Accordingly, exercising specific
                                      20   jurisdiction over Tri-Vin is unreasonable and defending this matter in California
                                      21   poses an undue burden on Tri-Vin, particularly when efficient relief is available in
                                      22   New York, where Tri-Vin can be found.
                                      23         In addition to the lack of jurisdiction over Tri-Vin, the Complaint is also
                                      24   legally infirm as a matter of law because Plaintiff fails to state a claim of trademark
                                      25   infringement or false designation under the Lanham Act. None of Plaintiff’s claims
                                      26   against Tri-Vin plausibly or sufficiently state a Lanham Act violation because
                                      27   Plaintiff does not and cannot allege trademark use by Tri-Vin of any protectable
                                      28   mark belonging to Plaintiff. Buried in obfuscation and a myriad of irrelevant

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                                       1   allegations, Plaintiff’s asserted marks center upon the word “vampire,” yet the only
                                       2   accused product attributed to Tri-Vin is the “Bloody Merlot.” On the face of
                                       3   Plaintiff’s allegations, the term “Bloody Merlot” is not confusingly similar to any
                                       4   of Plaintiff’s asserted marks, nor can it be: “bloody” is a purely descriptive term
                                       5   for the deep red color of red wine varietals—in this case, merlot.
                                       6          Indeed, many other wine purveyors use the term “blood” or “bloody” in this
                                       7   way, and these terms are no more associated with or indicative of Tri-Vin or
                                       8   Plaintiff as the source of this wine than the many other wine purveyors who use
                                       9   these words. Request for Judicial Notice, Exhibits 1-14 (existing trademark
                                      10   registrations issued by the USPTO for the words “blood” or “bloody” for wine
                                      11   products). Plaintiff’s scattershot allegation of its “Vampire family or marks”
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                                      12   centered on the word “vampire” fails to state claim against Tri-Vin as to the
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                                      13   “Bloody Merlot” wine, which is the only product attributed by Plaintiff to Tri-Vin
                                      14   for its claims.
                                      15          Furthermore, Plaintiff violated Federal Rule of Civil Procedure 8(a)(2) by
                                      16   lumping all defendants into Counts IV-VIII, without clarifying which marks are
                                      17   allegedly being infringed upon by which defendant. Instead, Plaintiff generally
                                      18   alleges defendants have committed trademark infringement of Plaintiff’s family of
                                      19   vampire trademarks. This is improper and insufficient as a matter of law.
                                      20   II.    STATEMENT OF FACTS
                                      21          A.     The Complaint and Plaintiff’s Allegations
                                      22          This is a diversity action between Plaintiff, a Delaware company based in
                                      23   California, and Tri-Vin, a New York company headquartered in New York. In its
                                      24   Complaint, Plaintiff alleges claims for intentional interference with contractual
                                      25   relations, trademark infringement, false designation, and unfair competition against
                                      26   Tri-Vin. Plaintiff’s Complaint, ECF No.1 (“Compl.”) ¶¶ 1, 4, 6. Plaintiff asserts a
                                      27   “family” of trademarks incorporating the word “vampire,” and based on these
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                                       1   asserted marks, claims that Tri-Vin committed infringement and related violations
                                       2   for selling and marketing a merlot wine called “Bloody Merlot.” Compl. ¶¶ 39, 52.
                                       3                 1.    Tri-Vin’s Nature of Business, New York Domicile and
                                       4                       Operations
                                       5          Tri-Vin is an importer and distributor of wine, servicing retailers,
                                       6   wholesalers, and distributors. Declaration of Marc Oliveira in Support of Motion to
                                       7   Dismiss (“Oliveira Decl.”) ¶ 2. Tri-Vin is a New York corporation with its
                                       8   principal place of business in New Rochelle, New York. Id. at ¶ 3. All corporate
                                       9   decision-making, including any marketing and advertising campaigns, policies, and
                                      10   strategies, as well as wine purchasing decisions, occur in New York, where Tri-
                                      11   Vin’s corporate business records and executive management personnel are located.
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                                      12   Id. Tri-Vin’s executive management team, including its current President Marc
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                                      13   Oliveira, is based in New York or elsewhere on the East Coast. Id. All accounting
                                      14   and bookkeeping are also performed and maintained in New York. Id.
                                      15                 2.    Tri-Vin Has No Sufficient Minimum Contacts with
                                                               California
                                      16
                                      17          By contrast to its presence in New York, Tri-Vin has no significant presence
                                      18   in California. See id. at ¶¶ 4, 6-10. Tri-Vin has no corporate office or address in
                                      19   California, nor does it own or operate any corporate property or facility there. Id. at
                                      20   ¶ 8. Tri-Vin is not registered to do business in California, does not maintain an
                                      21   agent for service of process in California, and does not maintain any bank accounts
                                      22   in California. Id. Tri-Vin Imports, Inc. previously registered its New York
                                      23   corporation with the State of California on June 9, 2003, but that registration was
                                      24   surrendered over fourteen years ago, on October 16, 2006. Id. at ¶ 7. Tri-Vin does
                                      25   not tailor and target its advertising or marketing at California, including through its
                                      26   website, www.tri-vin.com, which is registered to Tri-Vin at its New York address.
                                      27   Id. at ¶ 4.
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                                       1          Visitors to Tri-Vin’s website can use a zip code search to locate wines and
                                       2   vendors. Id. Searches for zip codes within California return the following
                                       3   statement: “www.tri-vin.com says Zip Code is not in our system. We primarily
                                       4   serve NY, NJ, and CT. Please contact us at products@tri-vin.com to get product
                                       5   stock information nationally.” Id. The website does not contain any content
                                       6   directed specifically at residents of California. Id.
                                       7          Tri-Vin’s President Marc Oliveira does not regularly travel to California for
                                       8   wine shows and has not attended any wine shows here in the past several years. Id.
                                       9   at ¶ 9. One such wine, beer and spirits show, hosted by an industry organization
                                      10   known as ECRM, who connects buyers and suppliers in various goods related
                                      11   services, rotates around the country in different states such as Georgia and
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                                      12   Louisiana, not just California. Id. In 2020, Tri-Vin sold 391 units of “Bloody
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                                      13   Merlot” to California, constituting a mere 0.0122% of Tri-Vin’s total national
                                      14   sales. Id. at ¶ 10. Tri-Vin has imported wine from defendant Cramele Recas in
                                      15   Romania in the past, but it does not act as an agent for Cramele Recas. Id. at ¶ 11.
                                      16   III.   LEGAL STANDARDS AND ARGUMENT
                                      17          A.    This Court Lacks Personal Jurisdiction Over Tri-Vin
                                      18          Plaintiff’s Complaint should be dismissed because the Court’s exercise of
                                      19   personal jurisdiction over Tri-Vin would not be consistent with due process
                                      20   requirements. A court may exercise personal jurisdiction over a defendant only
                                      21   when that exercise is consistent with the due process requirements of the United
                                      22   States Constitution. “[T]hose who live or operate primarily outside a State have a
                                      23   due process right not to be subjected to judgment in its courts as a general matter.”
                                      24   J. McIntyre Machinery, Ltd. v. Nicastro, 564 U.S. 873 (2011).
                                      25          It would offend all notions of fair play and substantial justice to require Tri-
                                      26   Vin—a non-resident defendant, whose attenuated connection to this dispute is
                                      27   through procurement of the accused wine from Romania—to be haled into court in
                                      28   California. See Bristol-Myers Squibb Co. v. Super. Ct. of California, San Francisco

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                                       1   County, 137 S. Ct. 1773 (2017); Daimler, 577 U.S. 117 (2014); Walden v. Fiore,
                                       2   571 U.S. 277 (2014); Goodyear Dunlop v. Brown, 564 U.S. 915 (2011);
                                       3   J. McIntyre Machinery, Ltd. v. Nicastro, 564 U.S. 873 (2011). Plaintiff cannot
                                       4   establish that the Court may exercise either general or specific jurisdiction over
                                       5   Tri-Vin.
                                       6                1.     Legal Standard Under Rule 12(b)(2)
                                       7         Courts may exercise personal jurisdiction over a non-resident defendant only
                                       8   if the requirements of both the due process clause of the Fourteenth Amendment to
                                       9   the United States Constitution and the state’s long-arm statute are satisfied. See
                                      10   Fireman’s Fund Ins. Co. v. Nat’l Bank of Cooperatives, 103 F.3d 888, 893 (9th
                                      11   Cir. 1996). Under the California long-arm statute, a court may exercise personal
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                                      12   jurisdiction over a non-resident defendant to the limits of due process. See Cal.
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                                      13   Code Civ. P. §410.10; Doe v. Unocal Corp., 248 F.3d 915, 923 (9th Cir. 2001). As
                                      14   a result, the requirements of the California long-arm statute are met only where the
                                      15   exercise of personal jurisdiction over a non-resident defendant comports with due
                                      16   process. See Bristol-Myers, 137 S. Ct. 1773 (2017); Daimler, 571 U.S. 117
                                      17   (2014); Walden, 571 U.S. 277 (2014); Goodyear, 564 U.S. at 915; J. McIntyre, 564
                                      18   U.S. 873 (2011).
                                      19         To establish personal jurisdiction over a non-resident defendant, a plaintiff
                                      20   must plead and prove that the defendant has “certain minimum contacts with [the
                                      21   State] such that the maintenance of the suit does not offend traditional notions of
                                      22   fair play and substantial justice.” Walden, 571 U.S. at 283 (internal quotation
                                      23   omitted); see also Daimler, 571 U.S. at 126; Goodyear, 564 U.S. at 923; J.
                                      24   McIntyre, 564 U.S. at 880. The requirement of “fair play and substantial justice” is
                                      25   carried into effect through the concepts of specific and general jurisdiction.
                                      26   Goodyear, 564 U.S. at 923-24. In other words, in order to satisfy constitutional
                                      27   requirements, plaintiff is required to prove the court has general jurisdiction or
                                      28   specific jurisdiction over the defendant. Daimler, 571 U.S. at 122. Where the

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                                       1   nonresident defendant’s forum-related activities are not “substantial, continuous,
                                       2   and systematic,” the Court must evaluate whether the specific activity giving rise
                                       3   to the plaintiff’s causes of action is sufficiently related to the forum state (specific
                                       4   jurisdiction). See Perkins v. Benguet Consol. Mining Co., 342 U.S. 437, 446
                                       5   (1952).
                                       6                2.     General Jurisdiction Does Not Exists over Tri-Vin
                                       7         General personal jurisdiction exists only where a defendant’s contacts with
                                       8   the forum are “continuous and systematic.” Helicopteros Nacionales de Colombia,
                                       9   S.A. v. Hall, 466 U.S. 408, 416 (1984). The “continuous and systematic” contacts
                                      10   must be sufficient enough so as to consider the proposed forum the corporation’s
                                      11   “home.” See Daimler, 571 U.S. at 138 (citations omitted). For a corporation,
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                                      12   “home” is where it is incorporated and where it maintains its principal place of
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                                      13   business. See Goodyear, 564 U.S. at 924; see also Daimler, 571 U.S. at 137.
                                      14   Indeed, “those who live or operate primarily outside a State have a due process
                                      15   right not to be subjected to judgment in its courts as a general matter.” J. McIntyre,
                                      16   564 U.S. at 881. It is not appropriate to rely on the magnitude of the defendants’
                                      17   in-state activities because “a corporation that operates in many places can scarcely
                                      18   be deemed at home in all of them . . . [o]therwise, ‘at home’ would be synonymous
                                      19   with “doing business[.]” Daimler, 571 U.S. at 139, n. 20. Rather, courts should
                                      20   look to the place of incorporation and principal place of business as the
                                      21   paradigmatic bases for general jurisdiction. Id. at 137.
                                      22         The Complaint does not sufficiently allege that Tri-Vin is subject to general
                                      23   jurisdiction. Nor could it. The place of incorporation and principal place of
                                      24   business are the “paradig[m] bases” of general personal jurisdiction. Daimler, 571
                                      25   U.S. at 137 (alternations in original). Tri-Vin is incorporated in and has its
                                      26   principal place of business in New York, where its executive management
                                      27   personnel and business records are located, and where its corporate marketing and
                                      28

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                                       1   advertising, and wine purchasing decisions are made. Compl. ¶ 6; Oliveira Decl. ¶¶
                                       2   2-3.
                                       3          Despite conceding that Tri-Vin is a New York corporation based in New
                                       4   York, Plaintiff alleges that Tri-Vin is subject to jurisdiction in California because
                                       5   “Tri-Vin is a US Importer for Cramele Recas and an agent of Cramele Recas’s for
                                       6   its wine sales in the U.S.” Compl. ¶ 6. Such a broad allegation based on Tri-Vin’s
                                       7   wine sales in the United States is not a proper basis for personal jurisdiction in
                                       8   California. Rather, the jurisdictional inquiry is forum-specific. See
                                       9   Schwarzenegger, 374 F.3d at 802. Under Plaintiff’s logic, Tri-Vin is subject to
                                      10   jurisdiction everywhere in the U.S. simply because it sells wine in the U.S. That is
                                      11   not the law. See Daimler, 571 U.S. at 139, n. 20.
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                                      12          Plaintiff’s remaining jurisdictional allegations are equally insufficient and
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                                      13   also false. Plaintiff alleges that “Tri-Vin regularly does business in California,
                                      14   regularly buying wine from California that it resells around the country. Tri-Vin
                                      15   also have [sic] a California distributor, based in this district, that it sells wine to for
                                      16   distribution. Tri-Vin regularly apply for and file trademark applications using a
                                      17   lawyer based in this District. Tri-Vin representatives, including Marc Oliveira,
                                      18   regularly travel to California for wine shows such as the ECRM which has been
                                      19   held in rotating locations, including Napa, San Diego, and Orange County.”
                                      20   Compl. ¶ 6. That Napa Valley, one of the world’s wine capitals is located in
                                      21   California, is not a basis to find that Tri-Vin is subject to general jurisdiction in
                                      22   California, lest all wine merchants who buy wine from Napa Valley be subjected to
                                      23   suit for all general purposes in California. But even accepting Plaintiff’s faulty
                                      24   premise, forum would still be improper in Los Angeles based on Tri-Vin’s wine
                                      25   purchases from Napa Valley wine makers—Napa Valley is not Los Angeles.
                                      26          Plaintiff’s assertion that Tri-Vin is subject to suit in California merely
                                      27   because it uses a trademark lawyer here for trademark prosecution completely
                                      28   unrelated to this suit is also insufficient for jurisdiction. See Daimler, 571 U.S. at

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                                       1   139, n. 20. Indeed, under that theory, Tri-Vin would also be subject to jurisdiction
                                       2   in Virginia, where the USPTO is located and where Tri-Vin’s trademark
                                       3   applications are submitted, examined, and processed. Plaintiff is grasping at
                                       4   jurisdictional straws.
                                       5         Plaintiff’s allegations that jurisdiction is proper because Tri-Vin has a wine
                                       6   distributor in this district for wines unrelated to the claims in this case and that Tri-
                                       7   Vin’s President Mr. Oliveira travels here to attend wine shows are also
                                       8   insufficient.1 These activities hardly reach the level of “continuous and
                                       9   systematic” conduct that makes Tri-Vin at home in California; these activities do
                                      10   not establish that Tri-Vin “operate[s] primarily” in California. See J. McIntyre, 564
                                      11   U.S. at 881; Goodyear, 564 U.S. at 924; see also Daimler, 571 U.S. at 139, n. 20
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                                      12   (“a corporation that operates in many places can scarcely be deemed at home in all
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                                      13   of them . . . [o]therwise, ‘at home’ would be synonymous with “doing
                                      14   business[.]”);
                                      15         Without any physical presence or personnel in California, or other activity
                                      16   that occurs primarily and systematically in California, Tri-Vin’s conduct of
                                      17   business here can scarcely be equated to Tri-Vin being “at home” in California.
                                      18   See Daimler, 571 U.S. at 137. Accordingly, Tri-Vin is not subject to general
                                      19   jurisdiction in California courts. See Goodyear, 564 U.S. at 924.
                                      20                3.     Specific Jurisdiction Does Not Exist Over Tri-Vin
                                      21         Specific jurisdiction requires the following three elements: “(1) The non-
                                      22   resident defendant must purposefully direct [its] activities [. . . .] with the forum or
                                      23   resident thereof; (2) the claim must be one which arises out of or relates to the
                                      24   defendant’s forum-related activities; and (3) the exercise of jurisdiction must
                                      25
                                      26
                                           1Indeed, Plaintiff’s assertion that Mr. Oliveira regularly travels here to attend wine
                                           shows is patently false. During 2020, such a show did not occur in person given
                                      27   the pandemic, and Mr. Oliveira has not been to a wine show in California in the
                                      28   past four or five years. The ECRM trade show was held in Georgia and Louisiana
                                           in 2018 and 2019. Oliveira Decl. ¶ 9.
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                                       1   comport with fair play and substantial justice, i.e. it must be reasonable.”
                                       2   Schwarzenegger v. Fred Martin Motor Co., 374 F.3d 797, 802 (9th Cir. 2004).
                                       3   Plaintiff bears the burden on the first two factors, then the burden shifts to the
                                       4   defense to a make a “compelling case” that exercise of jurisdiction is unreasonable.
                                       5   See Burger King Corp. v. Rudzewicz, 471 U.S. 462, 476-78 (1985).
                                       6                       a.     Plaintiff Cannot Establish Purposeful Direction by
                                                                      Tri-Vin
                                       7
                                       8         “‘A purposeful availment analysis is most often used in suits sounding in
                                       9   contract,’ while a ‘purposeful direction analysis . . . is most often used in suits
                                      10   sounding in tort. Lake v. Lake, 817 F.2d 1416, 1421 (9th Cir. 1987). In tort cases,
                                      11   the Ninth Circuit evaluates whether there exists “purposeful direction” using a
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                                      12   three-part test called the “Calder Effects Test,” under which “‘the defendant
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                                      13   allegedly must have (1) committed an intentional act, (2) expressly aimed at the
                                      14   forum state, (3) causing harm that the defendant knows is likely to be suffered in
                                      15   the forum state.’” See Brayton Purcell LLP v. Recordon & Recordon, 606 F.3d
                                      16   1124, 1128 (9th Cir. 2010) (citing Calder v. Jones, 465 U.S. 783, 789-90 (1984)).
                                      17         Here, Plaintiff does not allege any “intentional act” by Tri-Vin expressly
                                      18   aimed at California that caused harm that Tri-Vin knew would likely be suffered in
                                      19   California. Plaintiff vaguely alleges in a conclusory manner that “Tri-Vin are [sic]
                                      20   targeting sales of the accused product into California.” Compl. ¶ 6. This is false.
                                      21   Tri-Vin’s sales—particularly as to the accused product—are neither targeted nor
                                      22   directed to California. See Oliveira Decl. ¶¶ 4, 10. Tri-Vin’s website states “[w]e
                                      23   primarily serve NY, NJ, and CT” and the website does not contain content directed
                                      24   or tailored specifically to residents of California. Id. at ¶ 4. Indeed, Tri-Vin does
                                      25   not perform any marketing targeted and tailored to California, which is not its
                                      26   primary service area. See id. As it relates to Tri-Vin’s dealings with defendant
                                      27   Cramele Recas – Tri-Vin understood Cramele Recas to be operating out of
                                      28   Romania. Id. at ¶ 11; Compl. ¶ 5. Thus, Tri-Vin’s procurement of wines from

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                                       1   Cramele Recas in Romania with the phrase “Bloody Merlot”—not any of
                                       2   Plaintiff’s asserted “vampire family of marks” (Compl. ¶¶ 10, 93)—means that Tri-
                                       3   Vin could not have aimed conduct at California knowing harm would be allegedly
                                       4   suffered by Plaintiff here.
                                       5                       b.        Plaintiff’s Claims Do Not Arise Out of Tri-Vin’s
                                                                         Contacts with California
                                       6
                                       7         The relationship between the defendant’s suit-related conduct and the forum
                                       8   state “must arise out of contact that the ‘defendant himself’ creates with the forum
                                       9   State.” Walden, 571 U.S. at 284 (quoting Burger King v. Rudzewicz, 471 U.S. 462,
                                      10   475 (1985) (emphasis in original)). The analysis “must be focused on the
                                      11   defendant’s contacts with the forum State itself, not the defendant’s contacts with
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                                      12   persons who reside there.” Walden, 571 U.S. at 284. See McGlinchy v. Shell
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                                      13   Chemical Co., 845 F.2d 802, 816 (9th Cir. 1988) (affirming the district court’s
                                      14   dismissal of the complaint for lack of personal jurisdiction) (“[N]o authorized
                                      15   agents of [the defendant] were alleged to have performed or executed any portion
                                      16   of the contract in California.”).
                                      17         Plaintiff’s primary basis for bringing suit in California is that it is based here
                                      18   and the stipulated judgment vests jurisdiction in this forum as to any claims of
                                      19   violations of the judgment. Compl. ¶¶ 51. However, Tri-Vin is not a party to that
                                      20   stipulated judgment, and indeed, had no knowledge of its existence. Oliveira Decl.
                                      21   ¶ 12. Neither Plaintiff’s residence in California nor the stipulated judgment is a
                                      22   sufficient basis for specific personal jurisdiction over Tri-Vin. See Bristol-Myers,
                                      23   137 S. Ct. at 1781; Walden, 571 U.S. at 286; Smith v. Facebook, Inc., 262 F. Supp.
                                      24   3d 943, 951 (N.D. Cal. 2017), aff’d, 745 F. App’x 8 (9th Cir. 2018) (“[p]ersonal
                                      25   jurisdiction requires ‘something more’—namely, ‘wrongful conduct targeted at a
                                      26   plaintiff whom the defendant knows to be a resident of the forum state.’”) (internal
                                      27   citations omitted). Plaintiff’s illogical theory that Tri-Vin interfered with the
                                      28   stipulated judgment about which Tri-Vin was completely unaware is insufficient to

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                                       1   confer personal jurisdiction over Tri-Vin. “[C]ontacts resulting from the
                                       2   ‘unilateral activity of another party or third person’ are not attributable to a
                                       3   defendant.” Millennium Enterprises, Inc. v. Millennium Music, LP, 33 F. Supp. 2d
                                       4   907, 911 (D. Or. 1999) (citing Burger King, 471 U.S. at 475 & n. 17).
                                       5         Furthermore, Plaintiff incorrectly claims an inquiry related to a Facebook
                                       6   post creates sufficient contacts to subject Tri-Vin to this jurisdiction. Compl. ¶ 41.
                                       7   Plaintiff’s argument is flawed: a non-descript response that the accused wine
                                       8   would be available in California without any indication that the user who inquired
                                       9   purchased the wine in California, let alone in this District, does not open Tri-Vin to
                                      10   jurisdiction for suit here. See Smith, 262 F. Supp. At 951 (Nonresident operators
                                      11   of medical websites did not purposefully direct their conduct towards forum state
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                                      12   of California, … and thus specific personal jurisdiction did not exist over
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                                      13   operators); see also CollegeSource, Inc. v. AcademyOne, Inc., 653 F.3d 1066,
                                      14   1075-76 (9th Cir. 2011) (“If the maintenance of an interactive website were
                                      15   sufficient to support general jurisdiction in every forum in which users interacted
                                      16   with the website, the eventual demise of all restrictions on the personal jurisdiction
                                      17   of state courts would be the inevitable result.”).
                                      18         As noted above, Tri-Vin did not specifically target California as to its sales
                                      19   of wine generally, and as to the specific accused wine—Bloody Merlot—sales of
                                      20   which are de minimis: 0.0122% of total sales in 2020, which is the only year that
                                      21   Tri-Vin sold this product here. Oliveira Decl. ¶¶ 4, 10. See Ayla, LLC v. Alya Skin
                                      22   Pty. Ltd., No. 19-CV-00679-HSG, 2019 WL 5963149, at *4 (N.D. Cal. Nov. 13,
                                      23   2019) (“Defendant’s sales in California constitute less than 2% of all sales ... This
                                      24   de minimis amount cannot show express aiming when the ‘overwhelming
                                      25   majority’ of sales occur [elsewhere]. The Court concludes that Plaintiff fails to
                                      26   allege facts showing that Defendant engaged in conduct expressly aimed at
                                      27   California.”)
                                      28

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                                       1                         c.    Exercising Specific Jurisdiction over Tri-Vin is
                                                                       Unreasonable
                                       2
                                       3            Even where a court concludes that a defendant purposefully directed its
                                       4   activities to the forum (which the allegations and facts do not support here), the
                                       5   exercise of jurisdiction by local courts must also “comport with fair play and
                                       6   substantial justice” – or, in other words, be reasonable. Burger King, 471 U.S. at
                                       7   486. Reasonableness is assessed by numerous factors, the most relevant of which
                                       8   are discussed below. See Core-Vent Corp. v. Nobel Indus. AB, 11 F.3d 1482,
                                       9   1487-88 (9th Cir. 1993) (enumerating reasonableness factors).
                                      10                               (1)    There Is No Purposeful Injection by Tri-Vin
                                      11            The “purposeful injection” factor parallels the analysis for purposeful
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                                      12   direction. GT Sec., Inc. v. Klastech GmbH, No. C-13-03090 JCS, 2014 U.S. Dist.
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                                      13   LEXIS 88237, at *53 (N.D. Cal. June 27, 2014) (defendant’s activities that
                                      14   satisfied the “‘purposeful direction’ prong” also “demonstrate a sufficient level of
                                      15   purposeful injection[.]”). As such, because Tri-Vin has not purposefully directed
                                      16   conduct to Plaintiff, a fortiori, it has not purposefully injected itself either.
                                      17                               (2)    Defense in California Is Unduly Burdensome for
                                                                              Tri-Vin
                                      18
                                      19            Tri-Vin primarily serves New York, New Jersey, and Connecticut. Oliveira
                                      20   Decl. ¶ 4. Tri-Vin’s business records and executive management personnel are in
                                      21   New Rochelle, New York. Oliveira Decl. ¶ 3. Thus, requiring Tri-Vin to defend
                                      22   this action in California poses an undue burden, particularly given Tri-Vin’s lack
                                      23   of sufficient contacts to warrant general jurisdiction, let alone specific jurisdiction
                                      24   for Plaintiff’s claims that do not arise out of Tri-Vin’s limited activities in this
                                      25   state.
                                      26                               (3)    California Lacks Significant Interest in
                                                                              Adjudicating This Dispute
                                      27
                                      28            This factor considers California’s interest in adjudicating the controversy.

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                                       1   Core-Vent Corp., 11 F.3d at 1487-88. A forum state’s interest is insignificant
                                       2   where, as here, the “case does not involve a tort or a contract that would implicate
                                       3   an ongoing relationship.” Gray & Co. v. Firstenberg Machinery Co., 913 F.2d 758,
                                       4   761 (9th Cir. 1990). Tri-Vin’s only relevant connection to California as it pertains
                                       5   to this case is that Tri-Vin once sold Plaintiff’s wine, and that relationship is over.
                                       6   Compl. ¶ 43. Tri-Vin was unaware and not a party to the settlement agreement or
                                       7   stipulated judgment between Plaintiff and defendant Cramele Recas. Oliveira Decl.
                                       8   ¶ 12. Regardless, Plaintiff’s tort claims as to Tri-Vin cannot arise out of that
                                       9   settlement agreement for purposes of personal jurisdiction because Tri-Vin was not
                                      10   party to that agreement. Moreover, Tri-Vin does not tailor and target sales—
                                      11   particularly as to the accused product—in California, which is not its primary
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                                      12   service area, thereby making Tri-Vin’s connection with California all the more
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                                      13   attenuated. See Oliveira Decl. ¶¶ 4, 10.
                                      14                              (4)    Most Efficient Judicial Resolution & Alternative
                                                                             Forum in New York
                                      15
                                      16          The factors of efficiency and California’s importance to Plaintiff’s interest in
                                      17   convenient and effective relief primarily focus on the location of the evidence and
                                      18   the witnesses from the nonresident defendant’s perspective. See Core-Vent Corp.,
                                      19   11 F.3d at 1487-88; Int’l Shoe Co. v. Wash., 326 U.S. 310, 316 (1945); see also
                                      20   Ziegler v. Indian River Cnty., 64 F.3d 470, 476 (9th Cir. 1995) (“neither the
                                      21   Supreme Court nor [the Ninth Circuit] has given much weight to inconvenience to
                                      22   the Plaintiff”).
                                      23          Here, it is undisputed Tri-Vin is headquartered in New York, where its
                                      24   business records and management personnel are located. See Oliveira Decl. ¶¶ 2-3,
                                      25   6. For Tri-Vin, it would be contrary to the principles of judicial economy to
                                      26   continue the proceedings in California when the records and witnesses are in New
                                      27   York. Effective relief is available in the U.S. District Court for the Southern
                                      28   District of New York, where Tri-Vin and its management, records, and witnesses

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                                       1   reside and can be found. Whatever inconvenience plaintiff is faced in litigating in
                                       2   New York is outweighed by Tri-Vin’s right to “fair play and substantial justice.”
                                       3   Int’l Shoe, 326 U.S. at 316; see also Ziegler, 64 F.3d at 476.
                                       4         B.     Plaintiff Failed to State a Claim Upon Which Relief Can Be
                                                        Granted
                                       5
                                                        1.     Legal Standard Under Rule 12(b)(6)
                                       6
                                       7         To survive a motion to dismiss brought under Fed. R. Civ. P. 12(b)(6), a
                                       8   plaintiff must allege “enough facts to state a claim to relief that is plausible on its
                                       9   face.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007). This “facial
                                      10   plausibility” standard requires a plaintiff to allege facts that add up to “more than a
                                      11   sheer possibility that a [d]efendant has acted unlawfully.” Ashcroft v. Iqbal, 556
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                                      12   U.S. 662, 678 (2009). “A pleading that offers labels and conclusions or a formulaic
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                                      13   recitation of the elements of a cause of action will not do. Nor does a complaint
                                      14   suffice if it tenders naked assertions devoid of further factual enhancement.” Iqbal,
                                      15   556 U.S. at 678. “While legal conclusions can provide the framework of a
                                      16   complaint, they must be supported by factual allegations.” Id. at 679. And, while a
                                      17   court must generally accept factual allegations as true, it should not draw
                                      18   unreasonable inferences, credit conclusory legal allegations cast in the form of
                                      19   factual allegations, or credit allegations inconsistent with matters subject to judicial
                                      20   notice. See Twombly, 550 U.S. at 553-56, 558.
                                      21                2.     Count III Fails: There is No Intentional Interference with
                                                               Contractual Relations When Defendant Did Not Know of
                                      22                       Any Contract
                                      23         To recover in tort for intentional interference with performance of contract,
                                      24   plaintiff must prove: (1) valid contract between plaintiff and another party; (2)
                                      25   defendant’s knowledge of the contract; (3) defendant’s intentional acts designed to
                                      26   induce breach or disruption of contractual relationship; (4) actual breach or
                                      27   disruption of contractual relationship; and (5) resulting damage. See Applied
                                      28   Equip. Corp. v. Litton Saudi Arabia Ltd., 7 Cal. 4th 503, 869 P.2d 454 (1994).

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                                       1         Plaintiff does not and cannot plead that prior to this lawsuit, Tri-Vin was
                                       2   aware and had knowledge of a stipulated judgment or settlement agreement
                                       3   between Plaintiff and Cramele Recas. This is because Tri-Vin is not a party to that
                                       4   stipulated judgment or settlement agreement. Accordingly, Tri-Vin was unaware
                                       5   of any ongoing contractual relationship between Plaintiff and Cramele Recas. See
                                       6   Jacques v. Bank of Am. Corp., No. 1:12-CV-00821-SAB, 2016 WL 4548863, at
                                       7   *22 (E.D. Cal. Aug. 31, 2016) (internal citations omitted) (“If a potential defendant
                                       8   was completely unaware of contractual relations with a third party, then it would
                                       9   be impossible to infer any intent to interfere on the defendant’s part”); see also
                                      10   Swipe & Bite, Inc. v. Chow, 147 F. Supp. 3d 924, 934 (N.D. Cal. 2015) (motion to
                                      11   dismiss granted as to intentional tortious interference for failure to allege sufficient
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                                      12   facts to show knowledge of agreements.)
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                                      13         Plaintiff cannot plead any facts to show that Tri-Vin intended to interfere
                                      14   with a contract that it knew nothing about, nor that Tri-Vin had any intent to do so.
                                      15                3.     Counts IV-VII Fail: There is No Likelihood of Confusion
                                                               Between Defendant Recas’ “Bloody Merlot” Wine and
                                      16                       Plaintiff’s “Vampire” Wine
                                      17         15 U.S.C. § 1114 outlines the elements of infringement of registered
                                      18   trademarks as follows:
                                      19         (1) Any person who shall, without the consent of the registrant—
                                      20         (a) use in commerce any reproduction, counterfeit, copy, or colorable
                                                 imitation of a registered mark in connection with the sale, offering for
                                      21         sale, distribution, or advertising of any goods or services on or in
                                                 connection with which such use is likely to cause confusion, or to
                                      22         cause mistake, or to deceive; or
                                      23         (b) reproduce, counterfeit, copy, or colorably imitate a registered mark
                                                 and apply such reproduction, counterfeit, copy, or colorable imitation
                                      24         to labels, signs, prints, packages, wrappers, receptacles or
                                                 advertisements intended to be used in commerce upon or in
                                      25         connection with the sale, offering for sale, distribution, or advertising
                                                 of goods or services on or in connection with which such use is likely
                                      26         to cause confusion, or to cause mistake, or to deceive, shall be liable
                                                 in a civil action by the registrant.
                                      27
                                                 Section 43(a)(1) of the Lanham Act, 15 U.S.C. § 1125(a)(1), provides:
                                      28

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                                       1         Any person who, on or in connection with any goods or services, or
                                                 any container for goods, uses in commerce any word, term, name,
                                       2         symbol, or device, or any combination thereof, or any false
                                                 designation of origin, false or misleading description of fact, or false
                                       3         or misleading representation of fact which – (A) is likely to cause
                                                 confusion, or to cause mistake, or to deceive as to the affiliation,
                                       4         connection, or association of such person with another person, or as to
                                                 the origin, sponsorship, or approval of his or her goods, services, or
                                       5         commercial activities by another person… shall be liable in a civil
                                                 action by any person who believes that he or she is or is likely to be
                                       6         damaged by such act.
                                       7         The test for likelihood of confusion is whether a “reasonably prudent
                                       8   consumer” in the marketplace is likely to be confused as to the origin of the good
                                       9   or service. Dreamwerks Prod. Grp., Inc. v. SKG Studio, 142 F.3d 1127, 1129 (9th
                                      10   Cir. 1998). The likelihood of confusion must be probable, not just possible.
                                      11   Murray v. Cable Nat. Broad. Co., 86 F.3d 858, 861 (9th Cir. 1996).
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                                      12          In order to determine the likelihood of confusion, courts use the trademark
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                                      13   infringement analysis. See Two Pesos, Inc. v. Taco Cabana, Inc., 505 U.S. 763,
                                      14   781 (1992) (Stevens J., concurring) (“Whether we call the violation infringement,
                                      15   unfair competition, or false designation of origin, the test is identical – is there a
                                      16   likelihood of confusion?”); see also Brookfield Commc’ns, Inc. v. W. Coast Ent.
                                      17   Corp., 174 F.3d 1046, n. 6 (9th Cir. 1999) (a claim for false designation of origin is
                                      18   subject to the same standard as trademark infringement but does not require the
                                      19   mark to be registered).
                                      20        Accordingly, the Court may look to the Sleekcraft factors in its analysis: (1)
                                      21   strength of the mark; (2) relatedness of the goods; (3) similarity of sight, sound,
                                      22   meaning; (4) evidence of actual confusion; (5) marketing channels; (6) type of
                                      23   goods and purchaser care; (7) intent; and (8) likelihood of expansion. AMF, Inc. v.
                                      24   Sleekcraft Boars, 599 F.2d 341, 348-49 (9th Cir. 1979). Several of these factors are
                                      25   uniquely applicable to trademark infringement, but the overall framework is
                                      26   helpful to assess whether there is a likelihood of confusion. See E & J Gallo
                                      27   Winery v. Gallo Cattle Co., 967 F.2d 1280, 1290 (9th Cir. 1992) (“The list of
                                      28   factors… is neither exhaustive nor exclusive. Rather, the factors are intended to

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                                       1   guide the court in assessing the basic question of likelihood of confusion”); see
                                       2   also Entrepreneur Media, Inc. v. Smith, 279 F.3d 1135, 1140 (9th Cir. 2002)
                                       3   (“Although the Sleekcraft test plays an important role in the analysis of whether a
                                       4   likelihood of confusion exists, it is the totality of facts in a given case that is
                                       5   dispositive”).
                                       6        In determining whether two marks are similar, courts consider their sight,
                                       7   sound and meaning. GoTo.com, Inc. v. Walt Disney Co., 202 F.3d 1199, 1206 (9th
                                       8   Cir. 2000); Official Airline Guides, Inc. v. Goss, 6 F.3d 1385, 1392 (9th Cir. 1993).
                                       9   “In analyzing this factor, the marks must be considered in their entirety and as they
                                      10   appear in the marketplace.” Brookfield, 174 F.3d at 1054 (citations omitted).
                                      11   According to the “anti-dissection” rule, courts may not dissect marks to examine
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                                      12   and compare their component parts. M2 Software, Inc. v. Madacy Ent., 421 F.3d
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                                      13   1073, 1082 (9th Cir. 2005); Moose Creek, Inc. v. Abercrombie & Fitch Co., 331 F.
                                      14   Supp. 2d 1214, 1226 (C.D. Cal.), aff'd, 114 F. App'x 921 (9th Cir. 2004).
                                      15   Although the court may give greater weight to a dominant feature of a mark, the
                                      16   court’s analysis must ultimately consider and compare the marks in their entirety
                                      17   because “the validity and distinctiveness of a composite trademark is determined
                                      18   by viewing the trademark as a whole, as it appears in the marketplace.” Id.; Official
                                      19   Airline Guides, Inc., 6 F.3d at 1392.
                                      20          Plaintiff’s asserted marks center on the word “vampire” and expressly
                                      21   include that word. Compl. ¶ 10 (alleging a “family” of marks for VAMPIRE,
                                      22   VAMPYRE, VAMP H20, VAMPIRE TACO). Plaintiff also asserts a mark for
                                      23   SIP THE BLOOD OF THE VINE. Id. at ¶ 10. None of these asserted marks are
                                      24   even remotely close to the name of the accused product “Bloody Merlot.”
                                      25   Therefore, on the face of the allegations, there can be no infringement because
                                      26   none of Plaintiff’s alleged “family” of registered marks cover the phrase “Bloody
                                      27   Merlot.”
                                      28          Plaintiff’s allegations of similarity and confusion, and that its registered

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                                       1   marks cover “blood and blood images and bats . . .” and “blood sucker” strain
                                       2   credulity. Compl. ¶ 81. Plaintiff’s marks are those incorporating the word
                                       3   “vampire” or variants like “vampire” and “vamp”; these registered marks plainly
                                       4   do not include “blood and blood images and bats.” Compl. ¶¶ 10, 81. Plaintiff’s
                                       5   mark in the phrase “SIP THE BLOOD OF THE VINE” must be examined in its
                                       6   entirety, and in that context, there can be no confusion with the phrase “Bloody
                                       7   Merlot” on the accused product attributed to Tri-Vin.
                                       8          Plaintiff makes several conclusory statements and does not plead facts, let
                                       9   alone facts sufficient to state a plausible claim that Tri-Vin violated the Lanham
                                      10   Act, resulting in a likelihood of confusion. Plaintiff simply states “vampire” and
                                      11   “blood sucker” are confusing, but by their sight, sound, and appearance, they are
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                                      12   not. In any event, Plaintiff does not allege with specificity facts about how
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                                      13   “Bloody Merlot” infringes asserted marks in “vampire” or “sip from the blood of
                                      14   the vine,” or how Tri-Vin specifically has committed any infringement through the
                                      15   sale of the accused product “Bloody Merlot.” Plaintiff does not have any rights in
                                      16   the words “blood” or “bloody,” which are used by many wine purveyors, including
                                      17   for red wine for its blood-like color, showing that these words are not indicative of
                                      18   Plaintiff as the products’ source nor exclusive to Plaintiffs. See Request for
                                      19   Judicial Notice, Exhibits 1-14 (existing trademark registrations issued by the
                                      20   USPTO for the words “blood” or “bloody” for wine products); compare Compl. ¶
                                      21   80 (acknowledging descriptive product attribute of having “so much red coloring
                                      22   that it turns your lips red . . .”).
                                      23                 4.      Counts VI & VII Fail: VFB’s Unfair Competition Claims
                                                                 Under California Business and Professions Codes §§ 17200
                                      24                         and 17500
                                      25          Because VFB’s state law claims are predicated upon the Lanham Act
                                      26   violations, which are insufficient as discussed above, those state claims also fail.
                                      27   Pom Wonderful LLC v. Tropicana Prod., Inc. No. CV 09-566 DSF (CTX), 2009
                                      28   WL 10674426, at *4(C.D. Cal. July 6, 2009) (Finding state law claims under

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                                       1   §17200 and §17500 failed to plead with sufficient particularity after an analysis
                                       2   and dismissal of plaintiff’s Lanham Act claim). Plaintiff’s Lanham Act and state
                                       3   law claims rise, and in this case, fall together. Id.
                                       4                5.     The Complaint Violates Federal Rule of Civil Procedure
                                                               8(a)(2)
                                       5
                                       6         Federal Rule of Civil Procedure 8 (“Rule 8”) requires that a complaint
                                       7   contain “a short plain statement,” which provides defendants fair notice of the
                                       8   grounds upon which it rests. Fed. R. Civ. Proc. 8(a)(2). A complaint, however,
                                       9   “which lump[s] together . . . multiple defendants in one broad allegation fails to
                                      10   satisfy [the] notice requirement of Rule 8(a)(2).” Boyer v. Becerra, No. 17-cv-
                                      11   06063-YGR, 2018 U.S. Dist. LEXIS 72470, at *17 (N.D. Cal. Apr. 30, 2018); see
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                                      12   Gauvin v. Trombatore, 682 F. Supp. 1067, 1071 (N.D. Cal. 1988) (dismissing
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                                      13   complaint where “all defendants are lumped together in a single, broad allegation”).
                                      14         Thus, where an action is brought against multiple defendants, the plaintiff
                                      15   must state, “what role each [d]efendant played in the alleged harm.” Better Homes
                                      16   Realty, Inc. v. Watmore, No. 3:16-cv-01607-BEN-MDD, 2017 U.S. Dist. LEXIS
                                      17   59982, at *9-10 (S.D. Cal. Apr. 18, 2017) (dismissing complaint for failure to
                                      18   provide fair notice, where it merely contained “cursory references” to individual
                                      19   defendants and allegations against “all defendants”). For example, in In re iPhone
                                      20   Application Litig., No. 11-MD-02250-LHK, 2011 U.S. Dist. LEXIS 106865 (N.D.
                                      21   Cal. Sep. 20, 2011), the plaintiffs grouped together eight defendants and set forth
                                      22   generalized allegations against those “defendants” as a whole. Id. at *26-27. The
                                      23   court found that, “by lumping all eight of [the defendants] together,” plaintiffs had
                                      24   “not stated sufficient facts to state a claim for relief that is plausible against one
                                      25   [d]efendant.” Id. at *26 (emphasis in original).
                                      26         Notably, this requirement that a plaintiff plead each defendant’s role in the
                                      27   alleged harm extends to matters involving named defendants lumped together with
                                      28   fictitiously-named defendants. See Crisp v. Kernan, No. 2:17-cv-2431 KJN P,

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                                       1   2018 U.S. Dist. LEXIS 96221, at *15 (E.D. Cal. June 7, 2018) (“[P]laintiff does
                                       2   not identify each doe defendant and his or her alleged act . . . This lack of
                                       3   information is insufficient to put prospective defendants on notice . . .”). For
                                       4   example, in Gonzales v. City of Clovis, No. 1:12-cv-00053-AWI-SKO, 2013 U.S.
                                       5   Dist. LEXIS 12719 (E.D. Cal. Jan. 29, 2013), the plaintiff set forth generalized
                                       6   allegations against all “Defendants,” which included a single named defendant and
                                       7   seventy-five fictitiously named defendants. Id. at *37-38. There, the court
                                       8   dismissed the complaint, holding that the plaintiff must “allege each Defendant’s
                                       9   conduct or participation in the events.” Id. at 38. The court further instructed that,
                                      10   although the plaintiff may “may use “Doe” designations,” he must “distinguish
                                      11   each defendant” and “identify how each defendant, including those named as Doe,
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                                      12   is liable . . .” Id.
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                                      13           Here, Plaintiff makes no attempt to distinguish between the named
                                      14   defendants and/or the Doe defendants as to Counts IV-VII. See generally
                                      15   plaintiff’s Complaint. Instead, Plaintiff lumps the defendants together and makes
                                      16   generalized allegations against “Defendants” as a whole. Id. Indeed, of the 111
                                      17   paragraphs contained in the Complaint, only thirteen of the paragraphs even
                                      18   reference Tri-Vin. (See, ¶¶ 6, 41-47, 50-52, 73-74.) Tri-Vin is not specifically
                                      19   mentioned at all in Counts IV-VII. Such cursory references to Defendants, coupled
                                      20   with the numerous allegations against all “Defendants,” are insufficient to provide
                                      21   fair notice of Plaintiff’s claims as to Tri-Vin. Watmore, 2017 U.S. Dist. LEXIS
                                      22   59982, at *11.
                                      23           Plaintiff’s generalized allegations prove particularly problematic due to the
                                      24   subject matter of the Complaint: in pleading trademark infringement, Plaintiff
                                      25   alleges that “Defendants” infringed upon the Plaintiff’s family of Vampire marks
                                      26   and brands. See Compl.¶¶ 17, 56, 81, 91, 96, 110. It is impossible to determine
                                      27   with any specificity which of the numerous marks or brands Plaintiff is alleging
                                      28   were infringed by which defendant. Plaintiff cannot simply list its “family” of

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                                         1   marks and expect the defendants to infer which alleged conduct relates to which
                                         2   alleged infringement.
                                         3         Thus, requiring a response to the Complaint would improperly saddle
                                         4   Defendants with the “exceedingly difficult, if not impossible” task of preparing a
                                         5   response to inappropriately broad and generalized allegations. In re iPhone
                                         6   Application Litig., 2011 U.S. Dist. LEXIS 106865, at *26-27.
                                         7   IV.   CONCLUSION
                                         8         For the foregoing reasons, Tri-Vin respectfully requests the Court dismiss
                                         9   the Complaint based on a lack of personal jurisdiction and failure to state a claim.
                                        10
                                        11                                             Respectfully submitted,
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                                        12   Dated: January 25, 2021                    GORDON REES SCULLY
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                                        13
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                                                                                        By:
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